         Case 2:16-cv-01355-JEO Document 1-1 Filed 04/18/16 Page 1 of 20

                                   United States District Court
                                    Eastern District of Virginia
                                     Newport News Division


Plaintiff: Lucille Y. Arrington

V. Alabama Power Company and its parent Southern Company
file a case for disability discrimination and retaliation based on complaining
of disability discrimination

This case is being filed in Federal Court because of the plaintiffs disability discrimination and
retaliation based on complaining of disability discrimination which are against the Federal
Retaliation and Whistle-Blowing laws.

    1. The defendants retaliation against the plaintiffbegan on or about September 18*^ 2013 as
       a Supervisor in the Metro Central Business office under the same leadership as outlined
       throughout the claim. An employee with a close family relationship to Sr. Management
       and Executives of the defendants, was caught printing pornographic material during work
       hours on the office printer at Metro Central Business Office and the actions were
       captured on the defendants surveillance system. The employee with the close family
       relationship to Sr. Management and Executives then took the pornographic materials into
       the males restroom and gratified himselfon the images and place them in the trash in
       plain site of others using the restroom. Thisviolation took place twice in the same day
       andwas reported to the plaintiffby one of her employees. The plaintifffollowed policy
       and procedure outlined in the defendants policiesfor reporting such violations. When the
       defendant reported that employees expressed they were uncomfortableness working in an
       environment that included an individual allowed to commit such acts and receive no
       penalizing, thedefendants leadership advised the plaintiff to let the situation go because
       management was handling it. The plaintifffollowed the instruction given and referred
       any future employees to share theirconcern with the defendants management.



   2. The plaintiff who was recognized asa stellar employee from the initial hiring on August
       23"^ 2010 - December 31^ 2013 and was promoted by the Defendants was advised to
       report to 205 N Main Street Columbiana, AL 35051, a building owned by the defendants
       on or about January 6, 2014. On orabout February 17^ 2014 the plaintiffbegan
       complaining ofa mildew odor inthe office. The defendant changed airfilters and placed
       airfresheners in the ducts. It was not until, onor about August 15^ 2014, that someone
       was sent to test the air quality in the building. It was determined that an extreme case of
       toxic mold was present throughout the duct work and the highest concentration of the
       toxic mold was present in theplaintiff' s office. All of the duct work, ceiling tiles and
       walls had to beremoved. On or about September 2"^ 2014 theplaintiff became
       uncontrollably ill within 10 minutes of entering the building at 205 N Main Street
       Columbiana, AL 35051 and had to seek medical treatment, unable to return to work until
       on or about September 29^ 2014. Due to the daily toxic mold exposure (and at times
       required overnight sleeping) the plaintiff received a new diagnosis ofAsthma requiring
     Case 2:16-cv-01355-JEO Document 1-1 Filed 04/18/16 Page 2 of 20

                               United States District Court
                                Eastern District of Virginia
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   daily prescription inhalers used multiple times a day, multiple prescription nasal sprays
   requiring daily use, multiple daily prescriptions for digestive issues, a prescribed
   breathing machine with albuterol required daily often multiple times per day, hair loss,
   headaches and insomnia. The defendants initially denied that there was toxic mold
   present, and did not respond to the plaintiff requests for a copy of the test results. Upon
   return to work the plaintiff was instructed by the defendants to return to 205 N Main
   Street Columbiana, AL 35051 where there was still toxic mold present and remediation
   of the building taking place. Again the plaintiff became uncontrollably ill requiring
   medical attention.
3. Upon return to work on or about October 1^ 2014 theDefendants led theplaintiff to
   believe that the plaintiff was moved to a different woric location due to the toxic mold
   having a negative impact on the the plaintiffs' health. On orabout December 15^*" 2014
   the defendant informed the plaintifT that she was being removed from her role as a
   Supervisor of a smaller office and offered the role of Assistant Manager of a larger office
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   of Supervisor, and could not volunteer for P.R events during free time. When the plaintiff
   asked clarifying questions about being advised the reason for the move was due
   unhealthy work conditions of toxic mold exposure illnesses received on the job and the
   rights that were to be given up with the new position, the defendant rescinded the offer.
   On or about January 6^ 2015 the plaintiffwas then transferred toa different position at
   the corporate headquarters 600 N 18^ Street Birmingham, AL 35203, 36 miles away
   from the plaintiffs' original work location of 205 N Main Street Columbiana with a new
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   lifewith a new usual commute timeof 1-15^ hours oneway up from the usual commute
   time of 16-22 minutes one way. The plaintiffwas then given 1 year in the role of Sr.
   Information Analyst to find a new position. Theplaintiffapplied for approximately 7-10
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   requirements and was denied for each. The plaintiffalso applied and was denied for
   multipleexternal positionsin the highly corporate connected environment of Alabama
   and Georgia. Someof the internal positions request for Supervisor feedback were often
   ignored or yielded non favorable comments of defamation. The defendants encouraged
   the plaintiff to apply forlesser positions and informed the plaintiffthattheother positions
   were for someone else.
4. The defendant attempted to force the plaintiffto file a fraudulent Sexual Harassment
   charge against another employee. When the plaintiff refused and reported the action to
   the Vice President, the defendant continued to create a hostile atmosphere of harassment
   and intentionally inflicted emotionally distress upon the plaintiff causing the asthma and
   otherdiagnosis to be aggravated. The defendants' failed to respond to the plaintiffs'
   emails requesting mediation and resolution to the harassment and intentional infliction of
   distress in the work environment.
5. Theplaintiff was issued FMLA annually since the asthma diagnosis from the toxic mold
   exposure onthe job starting on or about September           2014. On or about January 15^
   2016 the plaintiffbecame ill at work and left to take medicine. Upon returnto work the
     Case 2:16-cv-01355-JEO Document 1-1 Filed 04/18/16 Page 3 of 20

                               United States District Court
                               Eastern District of Virginia
                                 Newport News Division

   defendants requested that the plaintiff come into the conference room to meet with the
   Supervisor and HR Business Partner. The defendants informed the plaintiff that she had
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   being demoted and offered a position in the training department under the same
   leadership tobe effective January 23"^ 2016. The defendants stated this was a good
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   referral was given but informed of the right to file an employee concern. The plaintiff
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   the conversation of the unmerited action, and left for the remainder of the day. The
   plaintiff required medical attention following the meeting when the symptoms could not
   be controlled and was unable to return to work for 3 days.
6. The plaintiff attempted to contact her Supervisor on or about January 19th but was
   repeatedlyforwarded to the Vice Presidents admin. The plaintiff submitted a request for a
   personal leave of absence. The defendants advised the plaintiff that employees on FMLA
   were not eligible for the benefit of a personal leave of absence causing the plaintiff more
   emotional distress. The defendants then asked the plaintiffto speak with Disability
   Management. The plaintiff followed the instructionto be further emotionally distressed
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   distress caused the plaintiff to have an asthma attack and ultimately led to a forced
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   Analyst on January 20*^ 2016 and accepted by the defendants on January 21®^ 2016
   RELIEF
   Plaintiff Lucille Y. Arrington damages consist of
   Expenses for medical treatment including prescriptions. Future expenses for medical
   treatment including prescriptions. Loss of Wages including reduction in meritincreases
   and PPP, Future lossof wages andearning capacity, emotional pain and suffering, future
   emotional pain and suffering, permanent injuries to lungs, digestive system and any other
   body organ or membrane thatcanbe negatively impacted by toxic mold exposure that
   contribute to toxic mold syndrome, Defamation to hername and credibility, loss on sell
   of home, moving expenses, job seeking expenses including hotels for Career Fairs,
   mileage, vehicle maintenance and quality of life in the amountof $3.5 million dollars and
   reimbursement ofall legal fees including filing, copies, depositions and future attorneys.
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                                   United States District Court
                                    Eastern District of Virginia
                                     Newport News Division

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       relationship to Sr. Management and Executives then took the pornographic materials into
       the males restroom and gratified himself on the images and place them in the trash in
       plain site of others using the restroom. This violation took place twice in the same day
       and was reported to the plaintiff by one of her employees. The plaintiff followed policy
       and procedure outlined in the defendants policies for reporting such violations. When the
       defendant reported that employees expressed they were uncomfortableness working in an
       environment that included an individual allowed to commit such acts and receive no
       penalizing, the defendants leadership advised the plaintiffto let the situation go because
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       any future employees to share their concern with the defendants management.



   2. The plaintiff who was recognized as a stellar employee from the initial hiring on August
       23"^ 2010 - December 31^ 2013 and was promoted by the Defendants was advised to
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       was sent to test the air quality in the building. It was determined that an extreme case of
       toxic mold was present throughout the ductwork and the highest concentration of the
       toxic mold was present in the plaintiff s office. All of the ductwork, ceiling tilesand
       walls had to be removed. On or about September 2°** 2014 the plaintiff became
       uncontrollably ill within 10 minutesof enteringthe building at 205 N Main Street
       Columbiana, AL 35051 and had to seek medical treatment, unable to return to work until
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                               United States District Court
                                Eastern District of Virginia
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   daily prescription inhalers used multiple times a day, multiple prescription nasal sprays
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   present, and did not respond to the plaintiff requests for a copy of the test results. Upon
   return to work the plaintiff was instructed by the defendants to return to 205 N Main
   Street Columbiana, AL 35051 where there was still toxic mold present and remediation
   of the building taking place. Again the plaintiff became uncontrollably ill requiring
   medical attention.
3. Upon return to work on or about October 2014 the Defendants led the plaintiff to
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   having a negative impact onthe theplaintiffs' health. On or about December 15^ 2014
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   but would not receive any pay increase, could not apply for any other jobs, keep the title
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   unhealthy work conditionsof toxic mold exposure illnesses received on the job and the
   rights that were to be given up with the new position, the defendant rescinded the offer.
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   the corporate headquarters 600 N 18^ Street Birmingham, AL 35203, 36 miles away
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   multiple external positions in the highly corporate connected environment of Alabama
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   charge against another employee. When theplaintiff refused and reported the action to
   the Vice President, the defendant continued to create a hostile atmosphere of harassment
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   emails requesting mediation and resolution to the harassment and intentional infliction of
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                               United States District Court
                               Eastern District of Virginia
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   Supervisor and HR Business Partner. The defendants informed the plaintiff that she had
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   being demoted and offered a position in the training department under the same
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   repeatedly forwarded to the Vice Presidents admin. The plaintiff submitted a request for a
   personal leave of absence. The defendants advised the plaintiff that employees on FMLA
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                                   United States District Court
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                               United States District Court
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                               United States District Court
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   Supervisor and HR Business Partner. The defendants informed the plaintiff that she had
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   reimbursement ofall legal fees including filing, copies, depositions and future attorneys.
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AO 398 (Rev. OJ/09) Notice of a Lawsuit and Request to Waive Service of a Summons



                                      United States District Court

                                                  1      Eastern District of Viiginia              I
                      Arrington, Lucille Y
                              Plaintiff
                                 V.                                                 Civil Action No.
 Alabama Power Company, and Southern Company
                            Defendant


                  NOTICE OF A LAWSUIT AND REQUEST TO WAIVE SERVICE OF A SUMMONS

To: Alabama Power Company 600 18 th. St N. Birmingham. AL 35203, and Southern Company30 Ivan Allen Jr. Blvd. ^
        (Name ofthedefendant or - ifthe defendant isa corporation, parttwrship, orassociation - an officer oragent authorized toreceive service)

           Why are you getting this?

           A lawsuithas been filed against you, or die entity you represent, in this court under the numbershown above.
A copy of the complaint is attached.

        This isnot a summons, oran official notice from the court. It isa request that, toavoid expenses, you waive formal
service ofa summons by signing and returning the enclosed waiver. To avoid these expenses, you must return the signed
waiver within QQ days (give atleast 30 days, orat least 60 days ifthe defendant is outside anyjudicial district ofthe UnitedStates)
from the date shown below, which isthe date this notice was sent. Two copies ofthe waiver form are enclosed, along with
a stamped, self-addressed envelope or otherprepaid means for returning onecopy. You may keep the othercopy.
           What happens next?

        Ifyou return the signed waiver, I will file it with the court. The action will then proceed as if you had been served
on the date the waiver is filed, but no summons will be served onyou and you will have 60 days from the date this notice
is sent (see thedate below) to answer the complaint (or90 days if this notice is sentto you outside any judicial district of
the United States).

        Ifyou do not return the signed waiver within the time indicated, Iwill arrange tohave the summons and complaint
served on you. And I will ask the court to require you, orthe entity you represent, topay the expenses ofmaking service.
           Please read the enclosed statement about the duty to avoid unnecessary expenses.
          I certify that this request is being sent to you on the date below.

Date:          April 15. 2016
                                                                                               ature                            ented party
                                                                                                                     mngt
                                                                                                             Printed name

                                                                                                  2502 Carriage House Way
                                                                                                     Williamsburg, VA23188

                                                                                                               Address

                                                                                                  lucilie.arrin9ton@gmail.com
                                                                                                            E-mail address

                                                                                                          205-614-2747
                                                                                                          Telephone number
                     Case 2:16-cv-01355-JEO Document 1-1 Filed 04/18/16 Page 11 of 20

AO 440 (Rev. 06/12) Summons in a Civil Action


                                     United States District Court
                                                               for the
                                                r^^aster^DisScto^irgini^^^^^
                   Lucille Y. Arrington
                2502 Carriage House Way
                   Williamsburg, VA23188



                            Plamtiff(s)
                                V.                                       Civil Action No.
            Alabama Power Company and
600 18 th. St N. Birmingham, AL35203 , and Southern
  Company 30 Ivan Allen Jr. Blvd. NW Atlanta, GA
                             30308


                           Defendant(s)


                                                 SUMMONS IN A CIVIL ACTION
                                      Alabama Power Company
To: (Defendant's name andaddress) ^00 18 th. St N. Birmingham, AL 35203 , and
                                      Southem Company
                                      30 Ivan Allen Jr. Blvd. NW Atlanta, GA 30308




          A lawsuit has been filed against you.

         Within 21 days after service of this summons onyou (not counting theday you received it)—or 60days ifyou
are the United States or a United States agency, or an ofiBcer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)— youmust serve on theplaintiffan answer to theattached complaint or a motion under Rule 12 of
the Federal Rules ofCivil Procedure. The answer or motion must be served on the plaintiffor plaintififs attomey,
whose name and address are:




         Ifyou fail torespond, judgment by de^lt will be entered against you for the reliefdemanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT



Date:
                                                                                      Signature ofClerk orDeputy Clerk
                       Case 2:16-cv-01355-JEO Document 1-1 Filed 04/18/16 Page 12 of 20

AO 440 (Rev. 06/12) Siumnons in a Civil Action (Page 2)

 Civil Action No.


                                                            PROOF OF SERVICE
                       (This section should not befiled with the court unless required by Fed. R. Gv. P. 4 (I))

           This summons for (name ofindividual andtitle, ifany) Alabama Power Company 600 18 th. St N. Birmingham, AL 352
was received by me on (date)


           • I personally served the summons on the individual at (place)
                                                                                 on (date)                             ; or


           O I left the summons at the individual's residence or usual place of abode with (name)
                                                                  , a person of suitable age and discretion who resides there,
           on (date)                                , and mailed a copy to the individual's last known address; or

           •   I served the summons on (name ofindividual)                                                                      , who is
            designated by law to accept service of process on behalf of (name cforganixation)
                                                                                 on (date)                             ; or

           • I returned the summons unexecuted because                                                                               ; or

           • Other (specify):




           Myfees are $                             fortravel and $                   for services, for a total of $          q.OO


           I declare under penalty of peijury that this infomiation is tme.


Date:
                                                                                             Server's signature



                                                                                         Printed name and title




                                                                                             Server's address


Additional information regarding attempted service, etc:
                    Case 2:16-cv-01355-JEO Document 1-1 Filed 04/18/16 Page 13 of 20

AO 399 (01/09) Waiver of the Service of Summons



                                     United States District Court

                                                  I^^^^JEasten^istrictofViigto
                      Arrington, Lucille Y
                                                                         f
                             Plaintiff                                   )
                                V.                                             Civil Action No.
  Alabama Power Company, and Southem Company
                            Defendant

                                            WAIVER OF THE SERVICE OF SUMMONS

7q. Lucille Y. Arlington
             (Name oftheplaintiffs attorney or unrepresentedplaintiff)

      I have received yourrequest to waive service of a summons in this action along witha copy of the complaint,
twocopies of this waiverform, and a prepaid means of retuming one signed copy of the form to you.
          I, or the entity I represent, agreeto savethe expense of serving a summons and complaint in this case.
          I understand that I, or Ae entity I represent will keep all defenses or objections to the lawsuit, the court's
jurisdiction, and the venue of the action, but thM I waive any objections to tiie absence of a summons or of service.
          I alsounderstand th^ I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 days fi'om                April 15.2016               ^          when this request was sent (or 90 days ifitwas sent outside the
United States). If I fail to doso, a default judgment will beentered against me or theentity I represent.

Date;
                                                                                         Signature ofthe attorney or unrepresentedparty


        Printed nameofparty waiving service ofsunmians                                                    Printed name




                                                                                                             Address



                                                                                                         E-mail address



                                                                                                        Telephone number

                                          Duty to Avoid Unnecessaiy Expensesof Serving a Summons
       Rule 4ofthe Federal Rules ofCivil Procedure requires certam defendants to cooperate insaving imnecessaiy expenses ofserving asummons
Md complaint. Adefendant who islocated inthe United States and who fails toreturn a signed waiver ofservice request^ by a plaintiff located in
the United States will berequired topay theexpenses of service, unless the defendant shows good cause forthefailure.
           Good cause' does not include a belieffiiat the lawswt isgroundless, orthat ithas been brought inan improper venue orthat the court has
no junsdiction over this matter orover thedefendant ot thedefendant's property.
          Ifthe waiver issigned and returned, you can still make these and allother defenses and objections, but you cannot object tothe absence of
a simmions or of service.


          '^^°"^^^^^^''^'^^-^°V™"^^'^J'^®^®®P®^*®®^°"^®^^®'fo™»serveanansweroramotionunderRule 12 on the plaintiff
and file acopy with the court. By signing and retuming the waiver form, you are allowed more time torespond than ifa summons had been served.
                            Case 2:16-cv-01355-JEO Document 1-1 Filed 04/18/16 Page 14 of 20
     EEOCFoftniei (11/09)                    U.S. EQUAL Employment Opportunity Commission
                                                    Dismissal and Notice of Rights
     To:       Lucille Arlington                                                         From;
               561 Harlem Avenue                                                                  Birmingham District Office
                                                                                                  Ridge Park Place
               Hueytown, AL 35023
                                                                                                  1130 22nd Street
                                                                                                  Birmingham, AL 35205


           •                    On behalfofperson(s) aggrieved whose identity is
                                CONFIDENTIAL (29 CFR §1601.7(a)}
     EEOCCharge No.                               EEOC Representative
                                                                                                                       Tel^hone No.
                                                  Debra Powell,
     420-2016-01036                               Investigator
                                                                                                                       (205) 212-2085
 THEEEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
                J The feds alleged in the chargefen to state aclaim underany ofthe statutes enforced by the EEOC.
                    Your allegations did not involve adisability as defined by the Americans With Disabilities Act
                    The Respondent employs less than the required numberofemployees or Is not otherarfse covered by the


                    Infomiatlon itefn^ed'IstaSS                                                        fEOC is unable to conclude that the
                    the statutes. Nfotinding IS made as to any otherissues that rlJ^ht'^Tco^t^^r^^^^
                    The  EEOC has adopted the findings ofthe state orlocal feir employment practices agency that investigated thischaige.
                    Other (briefly state)



                                                          - NOTICE OF SUIT RIGHTS -
                                                    (See the additional information attached to this form )

                                                                                                                               A..

lost. (The time limitfor filing suit based on aclaim under state law mayto diff^nt f

Sr*
before you file suit may not™mean^thatbTCk^^TOfor
                            be collectible. *     awwo'^ton^ that occurred more thanviolations)
                                                                                      ?         ofthe
                                                                     On be^f of the Commi^lon

Endosures{s)
                                                             Delner Franklih-Thomas,
                                                                    District Director                                     (Dat/Maiied)
cc
               Alabama Power Company

               Birmingham, AL 35203
                        Case 2:16-cv-01355-JEO Document 1-1 Filed 04/18/16 Page 15 of 20

    EEOCFomi 5(11/09)

                        Charge of Discrimination                                                     Change Presented To:             Agency(les) Charge No{8):
                                    the PrivacyAd of 1074. See enclosed PrivacyAct
                                                                                                         Z] fepa
                                                                                                         1(1 EEOC                        420-2016-01036
                                                                                                                                                      and EEOC
                                                                      Stete orlocal Aftenev. ffanv
   Name (InOeate Mr.. Ma.. Mrs.)
                                                                                                              Home Phone (IncL Area Code)
   Ms. Lucille Arrington                                                                                                                            OateofBfrth
                                                                                                                 (20S) 614-2747                  11-08-1969
                                                                            City, state ^cTZiP code
   561 Harlem Avenue, Hueytown, AL 35023
   DiscriminatedAgSn^Me                                                                                    State or Local GovernmentAgencyThat IBeRsve
   Name
                                                                                                              Na Employsss,Memban
  ALABAMA POWER
                                                                                                              500 or More                 (205) 257-1000
  Street Address
                                                                            City. State and ZIP Code
  600 N18th Street, Birmingham. AL 35203
  Name
                                                                                                             No. Empfoyaea, Momben     Phone No. (Include Aiea Code)
  Street Address
                                                                           CHy. State and ZIP Code

  DISCRIMINATION BASED ON (Clteck appmprffftf^ box(es).)
                                                                                                                    DATE(S) DISCRIMINATION TOOK PUCE
             [m color • sex Q REUBK3N Q] NATIONW.ORIGIN                                                                   Earflest
                                                                                                                      01-19-2016
                                                                                                                                                Latest
                                                                                                                                                01-20-2016
       S «!i^TION • age       DISABILITY QENETIOINFORMATION
             I OTHER (SipaciW
 THE PARTICULARS ARE OfaddHkutalpaperlsneeded, attach extrasheet(s))-                                         —•*         •          CONTINUINGACTION
   iSS»
   Leave (FML) since October 20ti    On Siv if 2018
                                                                                     f
   requested a peraonal leave of ab^nw iSse the                                                          «" Supervisor Scott Cotney (White) and
  Cotney infbmied me that employees with ^^M^id                                                                                               <«®abllity. Mr.
  referred me to TINA UsIU, who works in the Oisabilitv                                                                  absence. Mr. Cotney then
  to mydisability and questionsthatwere notrelated K ^Se^^u^


     violation ofTitle VII ofthe Civil Rights Act of 1964. as am»nri^ discrimination because of my race (Black)


Irantftb charge filed with both the EEOC and the State orlocal Aaencv Hanv i         NOTARY-
cMne^^tSKSi'f' ^°"So my address or phone numberand Iwffl
praSSro                        processing ofmy charge In accordancewfth their
Idedaro under penalty of peijury that the above Is true and conBcL
                                                                                     thebestofmy knovirtedge. Information and belief.
                                                                                     SIGNATURE OF COMPLAIfl{0Q0ygQ

   FebOI.2016                                                                        SUBSCRIBED ANI                              THIS date
                                                                                     {month, day.yeaf^
          Date                          /a

                                                                                                          BIRMINUHAM UltilHfCT
                        Case 2:16-cv-01355-JEO Document 1-1 Filed 04/18/16 Page 16 of 20
EEOCForm161 (11/09)
                                         U.S. Equal Employment opportunity Commission
                                               Dismissal and Notice of Rights
                                                                                     From; Binningham District Office
To:     Lucille Arrington                                                                  Ridge Park Place
        561 Harlem Avenue                                                                    1130 22nd Street
        Hueytown, AL 35023
                                                                                              Birmingham, AL 35205


                           On behalf of person(s) aggrieved whose identity is
                           CONFIDENTIAL (29 CFR SI601.7(a))
                                                                                                                  Telephone No.
 EEOC Charge No.                               EEOC Representative
                                               Debra Powell,
                                               Investigator                                                       (205) 212-2085
 420-2015-02570

 THE EEOC        IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
                The facts alleged In the charge fail to state aclaim under any of the statutes enforced by the EEOC.
                Your allegations did not Involve a disability asdefined by the Americans With Disabilities Act.
                 The Respondent employs less than the required number of employees or Is not othenwise covered by the statutes.
                 Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
                 discrimination to file your charge
        X]       The EEOC issues the follovvdng detemnination: Based upon its investigation, the EEOC is unable to conclude that the
                 information obtained establishes violations ofthe statutes. This does notcertify that the respondent is in compliance with
                 the statutes. No finding ismade as toany other issues that might beconstrued as having been raised by this charge.
                 The EEOC has adopted the findings ofthe state orlocal fair employment practices agency that investigated this charge.
                 Other (briefly state)


                                                         ' NOTICE OF SUIT RIGHTS -
                                                   (See the additional infoanation attached to this form.)

 Title VII, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
 Discrimination in Employment Act: Thiswill be the only notice of dismissal and of yourright to sue that we will send you.
 You mayfile a lawsuit against the respondent(s) under federal lawbased on this charge In federal or state court. Your
 lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
 lost. (The time limit for filing suit based on a claim under state law may be different.)

 Equal Pay Act (EPA): EPA suitsmust be filed in federal or state court within 2 years (3 yearsfor willful violations) ofthe
 alleged EPA underpayment. This means that backpay duefor anyviolations that occurred more than 2 years(3 years)
 before you file suit may not be collectible.

                                                                         behalf of      Commission



  Endosures(s)                                                                                                           '(Date Mailed)
                                                              Deiner Franklin-Thomas,
                                                                     District Director


  cc:        Alabama Power Company
             do IMark Crosswhite, President and CEO
             600 North 18th Street
             Birmingham, AL 35203
                            Case 2:16-cv-01355-JEO Document 1-1 Filed 04/18/16 Page 17 of 20


EE0CFcnnS(1im9)
                                                                                                           Charge Presented To:              Agency(ies) Charge No(s):
                     Charge of Discrimination
          This form isaffected Ijy the Privacy Act of1974. Seeendos^ Privacy Act
                    Statement andotherInformation before completing thisfena
                                                                                                              1    FEPA

                                                                                                              [x   EEOC                         420-2015-02570
                                                                                                                                                              and EEOC
                                                                           Rfafn nr foftflfAoflnw./f »nv

                                                                                                                    HomePhwie (IncL AreaCode;               Date of Birth
Name ffndhate Mr., Ms., Mrs.)
Ma. Lucille Arrinaton
                                                                                                                      (205)614-2747                        11-08-1969
StreelAddreaa                                                                     City, State and ZIP Code                                             .            ^ -
561 Harlem Avenue, Hueytown, AL 35023
Named is the Employer. Labor Organization, Employment Agency. Apprenticeship Comnjittee, or State or Local GovemmerItAgency That 1Believe
niBcrimlnated AaalnatMeor Others, {tfmore than two, listunderPARTICULARS below.)
                                                                                                                                                Phone No. (Indude Area Code)
Name

ALABAMA POWER CORPORATE                                                                                              500 or More                   (205)257-1000
StreetAddress    .    .                                                            CKy. State and ZIP Code
600 North 18th Street, Birmingham, AL 35203
                                                                                                                    Na Employees, MscnberB      Phone No. (IncludeArea Code)
Name



Street Address                                                                     City, StateandZIP Code

                                                          1                                                                 DATEfS^ DISCRIMINATION TOOK PLACE
                                                                                                                                    E^lsst                      Latest

          RACE                  COLOR              SEX                 REUGION                   NATIONAL ORIGIN               08-05-2014                  12-01-2015

                                           AGE                DISABILITY                   GENETIC INFORMATION
         X       RETALIATION
                         OTHER rspscAy;                                                                                                       CONTINUING ACTION


 THE PARTICULARS ARE(Ifadditional paper la needed, ettach extra8heet(s)):
  I was hired to work for the above named employer on August 23, 2010. In May 2013, I was promoted to the.
  position of Business Office Supen/isor by Customer Service Manager Scott Cotney. In November 2014, Mr.
  Cotney informed me that I would be transfered from the Metro Central Business Office to the Qoiumbiana
  Business Office so that I could gain small office experience. In February 2014, I complained that there was a
  mildew smell in the workplace. It was later detemnined that the smell was being caused by toxic mold. During my
  time in the Qoiumbiana Business Office, I was subjected to a hostile work environment by my subordinate
  employees. I complained to Area Manager Ashley Robinette who said that she would speak to the employees,
   but the hostile work environment continued.

  While perfomning my supervisory duties in the Pelham Office, I was subjected to scmtiny by Terri Tucker and Tim
   Bowen. My midyear perfomnance evaluation indicated that I needed improvement. In December 2014, Ms.
   Robinette offered me an Assistant Manager position and stated that I would retain the pay and title of Business
   Office Supervisor. After considering the offer, I informed Ms. Robinette that I wanted the position. After
   questioning my leadership ability, Ms. Robinette rescinded the offer. In January 2015, Ms. Robinette informed me
   ttiat I was being transfened to tiie Corporate Office, where Mr. Cotney excluded me from meetings and ignored
   me. Mr. Cotney also tried to force me to file a sexual harassment complaint altiiough the complaint did not have
   merit.

 I want this charge filad with Iwth the EEOC and the State or local Agency, if any. I            NOTARY - When necessary for State and Local Agency Requlraments
 will advise the agencies Ifi change my address or phone numtrar and Iwill
 cooperate fullywith them In the processing of my charge in accordance with their
 procedures.                                                                                     I swear or affinnthat I have read the above charge and that it is true to
 I declare under penalty of perjuiy that the above is true and correct.                          the best of my knowledge, infbnnationand belief.
                                                                                                 SIGNATURE OF COMPLAIN/pi^QgiygQ .

                                                                                                 SUBSCRIBED AND 9'VORNJP.B^QRE.IIAEJHIS DA
     Jan 19,2016                                                                                 (nmnth. day. yeat)
                                                                                                                         imfw"
             Date
                                                                                                                             E.E.O.a
                                                                                                                       BiHMiNaHAM DISTHtCI
                          Case 2:16-cv-01355-JEO Document 1-1 Filed 04/18/16 Page 18 of 20


                                                                                                  Charge Presented To:        AgencyOes) Charge No(s):
                  Charge of Discrimination
                                   See enclosedPrivacy Act                                           •    FEPA
                                                                                                                                   420-2015-02570
                                                                                                     m    EEOC
                                                                                                                                                and EEOC

                                                                   SfalB or toea! Agency, Ifany


.             1            for eouAH Dositions but IWss Hot selBCted. The positions were awarded to a Black. Male, a
                     and aWhite Female. On January 15. 2016. Mr ^ttiey Infonned me than vw)uld.be_demoted_to
-thrposlttorrofTraining Analyst IV position beginning January 25,2015.
    believed that Iam being demoted in retaliation for complaining of a hostile work environment and because I
reported toxic mold.




1want this diaiga filed with both the EEOC and the state or hical Agency, if any. I     NOTARY—When necessary far Stata and LocalAgencyRaqulremBnts
wiQ adtf^ iha agencies ifI change my address or phone nianber and Iwill

procedures.
                                                                                        I swear or afftm that I have read the alxivecharge and that 9 is tnie to
Idedare under penalty of pe^uiy that the atxjveIs tnie and conecL                       the beai(rfniy knowledge, mfbnnation and beBef.
                                                                                        SIGHATUREOF COMPlA»<ANTpjgQg|ygp

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                                                                                                                                iSOATE
                                                                                         (month, day, yoai)
     Jan 19,2016                                                                                                      JAN 19 2016
           Data                                            =2                                                             P-Pj
                                                                                                                 81
Case 2:16-cv-01355-JEO Document 1-1 Filed 04/18/16 Page 19 of 20




                                 CERTIFICATION

   Idcclarcundcrpcnaliy ofperjuryihm:

   (I) Noallomey hasprepared, orassisted inihepreparation oflhis document


                 Nafmeof/'rr^S'e PartyX^4morTyp'c)


                         urc o fPro Su

          Executed on:       Apfl
                                     OR

   (2)
          (NamcofAuorney)


          (Address of Allomey)


          (Telephone Number of Attorney)
          Prepared, orassisied inthepreparation of thisdocument.


                 (Name of ProSc Parly(Print orType)


                  SignatureQ'iPvoSe l^u'ly

          IHxcculcd on:                                    (Dule)




                                         43
         Case 2:16-cv-01355-JEO Document 1-1 Filed 04/18/16 Page 20 of 20




(M) Ghostwriting:
(1) Any attorney who prepares any document that is to be filed inthis Court by a person who is known by
theattorney, or who is reasonably expected bythe attorney, to be proceeding pro se, shall beconsidered
to haveentered an appearance in the proceeding in which such document is filed and shall be subject to
all rules thatgovern attorneys whohave formally appeared inthe proceeding.
(2) All litigants who are proceeding pro se shall certify inwriting and under penalty ofpeijury that a
document(s) filed with theCourt has not been prepared by, or with the aid of, an attorney or shall identify
anyattorney whohas prepared, or assisted in preparing, tiiedocument.


Each document filed with the court by a pro se litigant shall bear the following certificatioD:

CERTIFICATION

1declare under penalty of peijury that:
( ) No ^omey has prepared, orassisted in the preparation ofthis document.
        f PrdSe^Pi^y^nnt^f Type)
 i^iatureMSoS
Executed ion:                             (Date)



OR


CERTIFICATION


2)
(Name of Attorney)

(Address of Attorney)

(Telephone Number of Attorney)
Prepared, or assisted in the preparation of, this document.

(Name of Pro Se Party (Print or Type)

Signature of Pro Se Party
Executed on:                              (Date)
